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 1                                                            Judge Ricardo S. Martinez
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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10   UNITED STATES OF AMERICA,              )
                                            )                 NO. CR05-417RSM
11                    Plaintiff,            )
                                            )
12              v.                          )
                                            )
13   JOHN JAY CUNNINGHAM,                   )
     LISA LUERA,                            )                 ORDER CONTINUING
14   JUSTIN BRICE WILLIAMS,                 )                 TRIAL DATE AND
     MUHAMMAD ALI ATKINS,                   )                 PRETRIAL MOTIONS
15   JOSEPH TRAN,                           )                 DEADLINE DATE
     LUCUS JOHNNY QUILT,                    )
16   FAYVE ELI MARY QUILT,                  )
     DIDE CRYSTAL QUILT                     )
17   JOANNE CHRISTIN ROSETTE,               )
     RANGER OPPENHEIM,                      )
18   ERIN CASPER,                           )
     ABRAHAM CHARLES SHEENA,                )
19                                          )
                      Defendants.           )
20    ______________________________________)
21

22          THIS MATTER comes before the Court on a stipulated motion of the government
23   and defendants CUNNINGHAM, LUERA, ATKINS, WILLIAMS and TRAN to continue
24   the trial date and the pretrial motions deadline date. Having considered the entirety of the
25   record and files herein, the Court finds that failure to grant a continuance would likely
26   result in a miscarriage of justice. The case is complex involving twelve defendants, over
27   three thousand pages of discovery, over one thousand intercepted telephone
28   conversations, and hundreds of exhibits.
     Order Continuing Trial and Motions
     Deadline/Cunningham, et al./CR05-417RSM –1                                   UNITED STATES ATTORNEY
                                                                                   601 UNION STREET, SUITE 5100
                                                                                 SEATTLE, WASHINGTON 98101-3903
                                                                                          (206) 553-7970
           Case 2:05-cr-00417-RSM         Document 122       Filed 01/18/06     Page 2 of 2



 1          It is unreasonable to expect adequate preparation for trial before the current trial
 2   date of January 23, 2006. The Court further finds that the interests of the public and the
 3   defendants in a speedy trial in this case are outweighed by the ends of justice.
 4          IT IS NOW, THEREFORE, ORDERED that trial of defendants CUNNINGHAM,
 5   LUERA, ATKINS, WILLIAMS and TRAN be continued to May 8, 2006, and that the
 6   time between the date of this Order and the new trial date be excludable time under the
 7   Speedy Trial Act pursuant to Title 18, United States Code, Sections 3161(h)(8)(A),
 8   3161(h)(8)(B)(i), and 3161(h)(8)(B)(ii).
 9          IT IS FURTHER ORDERED that pre-trial motions shall be filed on or before
10   April 3, 2006.
11          Dated this 18th day of January, 2006
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                                                       RICARDO S. MARTINEZ
15
                                                       UNITED STATES DISTRICT JUDGE
16   Presented by:
17   s/Douglas B. Whalley
18   DOUGLAS B. WHALLEY
     Assistant United States Attorney
19   United States Attorney's Office
20   601 Union Street, Suite 5100
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21   (206) 553-4882, Fax: (206) 553-4440
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     E-mail: douglas.whalley@usdoj.gov
     Washington State Bar #4625
23
     s/ Lisca Borichewski
24
     LISCA BORICHEWSKI
25   Assistant United States Attorney
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28

     Order Continuing Trial and Motions
     Deadline/Cunningham, et al./CR05-417RSM –2                                    UNITED STATES ATTORNEY
                                                                                    601 UNION STREET, SUITE 5100
                                                                                  SEATTLE, WASHINGTON 98101-3903
                                                                                           (206) 553-7970
